Case No. 1:21-cv-02214-NYW-SBP          Document 96      filed 12/05/24    USDC Colorado
                                        pg 1 of 18




                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLORADO
                                Judge Nina Y. Wang

Civil Action No. 21-cv-02214-NYW-SBP

BRIAN LOMA,

       Plaintiff,

v.

SERGEANT JEFFERY BERGER, in his individual capacity, 1

       Defendant.

                        MEMORANDUM OPINION AND ORDER


       Pending before the Court is Defendant Jeffery Berger’s Motion for Summary

Judgment (“Motion for Summary Judgment” or “Motion”) filed by Defendant Sergeant

Jeffery Berger (“Sergeant Berger”) on April 1, 2024. [Doc. 80]. Plaintiff Brian Loma

(“Plaintiff” or “Mr. Loma”) timely responded in opposition to the Motion, [Doc. 86 (the

“Response”)], and Sergeant Berger filed a reply brief, [Doc. 89 (the “Reply”)]. The issues

have been fully briefed, and the Court does not believe that oral argument would

materially aid in the resolution of this matter. For the reasons set forth below, the Court

GRANTS IN PART and DENIES IN PART the Motion for Summary Judgment.

                                     BAGKGROUND

       This case arises from an incident between Mr. Loma and Denver Police

Department (“DPD”) officers that occurred while Mr. Loma was filming an unhoused


1 The Court notes that Sergeant Berger’s first name is spelled “Jeffery” in filings filed by

his counsel, including his Declaration. See, e.g., [Doc. 80; Doc. 80-1; Doc. 89]. The Clerk
of Court is DIRECTED to amend the case caption to reflect the proper spelling of Sergeant
Jeffery Berger’s first name.
Case No. 1:21-cv-02214-NYW-SBP            Document 96       filed 12/05/24     USDC Colorado
                                          pg 2 of 18




encampment cleanup operation in an area outside of St. Joseph’s Hospital on November

17, 2020. See generally [Doc. 6]. Mr. Loma brings three § 1983 claims against Sergeant

Berger in his individual capacity for alleged violations of Mr. Loma’s constitutional rights

during the incident: (1) a First Amendment retaliation claim, [Doc. 6 at ¶¶ 146–62]; (2) a

Fourteenth Amendment deprivation of property claim, [id. at ¶¶ 176–82]; and (3) a Fourth

Amendment excessive force resulting in the deprivation of property claim, [id. at ¶¶ 183–

91]. The instant Motion seeks summary judgment for Sergeant Berger on all three of Mr.

Loma’s surviving claims. [Doc. 80]. This matter is now ripe for consideration, see [Doc.

86; Doc. 89], and the Court considers the Parties’ arguments below.

                                    LEGAL STANDARDS

I.     Rule 56

       Under Rule 56 of the Federal Rule of Civil Procedure, summary judgment is

warranted “if the movant shows that there is no genuine dispute as to any material fact

and the movant is entitled to judgment as a matter of law.” Fed. R. Civ. P. 56(a). “A

dispute is genuine if there is sufficient evidence so that a rational trier of fact could resolve

the issue either way. A fact is material if under the substantive law it is essential to the

proper disposition of the claim.” Crowe v. ADT Sec. Servs., Inc., 649 F.3d 1189, 1194

(10th Cir. 2011) (citation and quotations omitted).

       Where the movant does not bear the ultimate burden of persuasion at trial, the

movant does not need to disprove the other party’s claim; rather, the movant must only

point the Court to a lack of evidence for the other party on an essential element of that

party’s claim. Adler v. Wal-Mart Stores, Inc., 144 F.3d 664, 671 (10th Cir. 1998) (citing

Celotex Corp. v. Catrett, 477 U.S. 317, 325 (1986)). Once the movant has met its initial




                                               2
Case No. 1:21-cv-02214-NYW-SBP           Document 96       filed 12/05/24   USDC Colorado
                                         pg 3 of 18




burden, the burden then shifts to the nonmoving party to “set forth specific facts showing

that there is a genuine issue for trial.” Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 250

(1986). When considering the evidence in the record, the Court cannot and does not

weigh the evidence or determine the credibility of witnesses. See Fogarty v. Gallegos,

523 F.3d 1147, 1165 (10th Cir. 2008). At all times, the Court views each motion “in the

light most favorable to its nonmoving party.” Banner Bank v. First Am. Title Ins. Co., 916

F.3d 1323, 1326 (10th Cir. 2019).

II.    Qualified Immunity

       “Motions for summary judgment based on qualified immunity are treated differently

than other summary-judgment motions.” Farrell v. Montoya, 878 F.3d 933, 936–37 (10th

Cir. 2017).   The doctrine of qualified immunity protects government officials from

individual liability in the course of performing their duties so long as their conduct does

not violate clearly established constitutional or statutory rights. See Washington v. Unified

Gov’t of Wyandotte Cnty., 847 F.3d 1192, 1197 (10th Cir. 2017). To overcome an

invocation of qualified immunity at summary judgment, although the Court reviews “the

evidence in the light most favorable to the nonmoving party, the record must clearly

demonstrate the plaintiff has satisfied his heavy two-part burden.” Felder ex rel. Smedley

v. Malcom, 755 F.3d 870, 877–78 (10th Cir. 2014) (quotation omitted). That is, the plaintiff

must establish two things: “(1) that the defendant’s action violated a federal constitutional

or statutory right; and (2) that the right violated was clearly established at the time of the

defendant's actions.” Grissom v. Roberts, 902 F.3d 1162, 1167 (10th Cir. 2018) (citing

Thomson v. Salt Lake Cnty., 584 F.3d 1304, 1312 (10th Cir. 2009)). This test imposes a

“heavy two-part burden.” Thomas v. Kaven, 765 F.3d 1183, 1194 (10th Cir. 2014)




                                              3
Case No. 1:21-cv-02214-NYW-SBP            Document 96       filed 12/05/24     USDC Colorado
                                          pg 4 of 18




(quotationomitted). “If the plaintiff fails to satisfy either part of the inquiry, the court must

grant qualified immunity.” Carabajal v. City of Cheyenne, 847 F.3d 1203, 1208 (10th Cir.

2017). It is within the sound discretion of a court to decide which of the two prongs of the

qualified immunity analysis should be addressed first in light of the circumstances in the

particular case at hand. Pearson v. Callahan, 555 U.S. 223, 236 (2009).

       Addressing qualified immunity at the summary judgment stage requires the Court

to adopt the plaintiff’s version of the facts that are supported with evidence and ask

whether that version of the facts is sufficient to overcome the invocation of qualified

immunity. Helvie v. Jenkins, 66 F.4th 1227, 1232 (10th Cir. 2023); Est. of Taylor v. Salt

Lake City, 16 F.4th 744, 756 (10th Cir. 2021). But the Court does not accept the plaintiff’s

version of the facts if there is clear video evidence that is contrary to the plaintiff’s version

of events. Est. of Taylor, 16 F.4th at 757.

                             UNDISPUTED MATERIAL FACTS

       The below material facts are drawn from the Parties’ briefing and are undisputed

unless otherwise noted.

       1.     In November 2020, the Denver Department of Public Health and

Environment (“DDPHE”) declared an unlawful encampment located at 19th Avenue and

Emerson Street in the City and County of Denver a public health hazard and requested

Department of Transportation and Infrastructure (“DOTI”) assistance with a cleanup of

the location. [Doc. 80 at ¶ 1; Doc. 86 at 2 ¶ 1; Doc. 80-1 at ¶ 5].

       2.     On November 17, 2020, DPD officers provided protection for City

employees conducting cleanup operations in connection with the unlawful encampment.

[Doc. 80 at ¶ 1; Doc. 86 at 2 ¶ 1; Doc. 80-1 at ¶ 5].




                                               4
Case No. 1:21-cv-02214-NYW-SBP           Document 96        filed 12/05/24   USDC Colorado
                                         pg 5 of 18




       3.      Sergeant Berger was assigned to provide security for the encampment

cleanup operation. [Doc. 80 at ¶ 2; Doc. 86 at 2 ¶ 2; Doc. 80-1 at ¶ 6].

       4.      At approximately 6:30 a.m., Mr. Loma arrived at 19th Avenue and Emerson

Street to livestream the encampment cleanup operation on YouTube. [Doc. 80 at ¶ 5;

Doc. 86 at 3 ¶ 5; Doc. 80-2 at 00:22].

       5.      Mr. Loma filmed the cleanup operation with his phone set inside a gimbal.

[Doc. 80 at ¶ 6; Doc. 86 at 3 ¶ 6; Doc. 80-3 at 196:2]. 2

       6.      A gimbal is a handheld device with a gyroscope attachment that provides

stability for the image captured by a phone. [Doc. 80 at ¶ 7; Doc. 86 at 3 ¶ 7; Doc. 80-3

at 196:4–7].

       7.      Shortly after Mr. Loma started filming, a police officer approached and

asked Mr. Loma to back up and not to interfere with the fence installation. [Doc. 80 at

¶ 8; Doc. 86 at 3 ¶ 8; Doc. 80-2 at 01:26].

       8.      Mr. Loma responded by demanding the officer’s name and badge number.

[Doc. 80 at ¶ 9; Doc. 86 at 3 ¶ 9; Doc. 80-2 at 01:30].

       9.      The officer declined to provide his name and badge number, prompting Mr.

Loma to repeat his demand and call the officer a derogatory name. [Doc. 80 at ¶ 10; Doc.

86 at 3 ¶ 10; Doc. 80-2 at 01:56].

       10.     Mr. Loma continued to demand the officer’s name and badge number in an

aggressive and belligerent tone. [Doc. 80 at ¶ 11; Doc. 86 at 3 ¶ 11; Doc. 80-2 at 02:50].



2 When citing to transcripts, the Court cites to the page and line numbers appearing on

the original transcript pages but to the docket number generated by the Electronic Court
Files (“ECF”) system. When citing to video evidence, the Court cites to the docket number
and timestamp reflected on the video footage whenever possible.


                                              5
Case No. 1:21-cv-02214-NYW-SBP           Document 96       filed 12/05/24   USDC Colorado
                                         pg 6 of 18




       11.    The officer requested back-up. [Doc. 80 at ¶ 12; Doc. 86 at 3 ¶ 12; Doc.

80-2 at 02:50].

       12.    Additional officers responded to the request for back-up less than one

minute later. [Doc. 80 at ¶ 13; Doc. 86 at 3 ¶ 13; Doc. 80-2 at 03:31].

       13.    The officers advised Mr. Loma that he was permitted to continue filming so

long as he did not interfere with the fence installation. [Doc. 80 at ¶ 14; Doc. 86 at 3 ¶ 14;

Doc. 80-2 at 03:32].

       14.    Officers provided Mr. Loma their names and badge numbers upon Mr.

Loma’s requests. [Doc. 80 at ¶ 15; Doc. 86 at 3 ¶ 15; Doc. 80-2 at 03:33].

       15.    Officers again advised Mr. Loma that he was permitted to continue filming

(and yelling at the officers) so long as he stayed outside of the fence line. [Doc. 80 at 4

¶ 16; Doc. 86 at 3 ¶ 16; Doc. 80-2 at 03:53].

       16.    Mr. Loma walked closely behind Sergeant Berger. [Doc. 86 at 5 ¶ 1; Doc.

80-2 at 05:00–06:13]. 3

       17.    No officer said anything to Mr. Loma indicating that Mr. Loma was not

permitted to film. [Doc. 80 at ¶ 20; Doc. 86 at 3 ¶ 20; Doc. 80-3 at 195:19–23]. 4



3 Sergeant Berger “[d]en[ies]” this fact, arguing that the portion of the video to which Mr.

Loma cites does not show that Mr. Loma “walked behind” Sergeant Berger. [Doc. 89 at
5 ¶ 1 (citing [Doc. 80-2 at 05:00–06:13])]. The Court notes, however, that Mr. Loma
clearly walks behind Sergeant Berger less than 30 seconds before the portion cited by
Mr. Loma and, therefore, finds that Mr. Loma’s assertion of fact is nevertheless supported
by the record. See [Doc. 80-2 at 04:32–04:36].
4 The Statement of Undisputed Material Facts in Sergeant Berger’s Motion for Summary

Judgment omitted paragraphs 19 through 20, and instead repeated paragraphs 21, 22,
and 23. See [Doc. 80 at 4]; see also [Doc. 89 at 7 n.3 (explaining the typographical error)].
For purposes of clarity, the Court refers to the two paragraphs following paragraph 18 as
paragraphs 19 and 20, and all other paragraphs contained in the Motion consistent with
the numbers used therein.


                                              6
Case No. 1:21-cv-02214-NYW-SBP           Document 96     filed 12/05/24   USDC Colorado
                                         pg 7 of 18




       18.    Mr. Loma then approached Sergeant Berger while demanding his name and

badge number. [Doc. 80 at ¶ 19; Doc. 86 at 3 ¶ 19; Doc. 80-2 at 05:00].

       19.    At that time, Sergeant Berger did not know Mr. Loma. [Doc. 80 at ¶ 17;

Doc. 86 at ¶ 17; Doc. 80-1 at ¶ 12]. 5

       20.    Mr. Loma also did not recall any previous interactions with Sergeant Berger.

[Doc. 80 at ¶ 18; Doc. 86 at 3 ¶ 18; Doc. 80-3 at 187:1–25].

       21.    Mr. Loma stood approximately three feet from Sergeant Berger while

demanding Sergeant Berger’s name and badge number. [Doc. 80 at ¶ 22; Doc. 86 at 4

¶ 22; Doc. 80-1 at ¶ 18; Doc. 80-3 at 197:20–23].

       22.    Sergeant Berger initially declined to provide his name and badge number

to Mr. Loma because Sergeant Berger did not know who Mr. Loma was. [Doc. 80 at ¶ 21;

Doc. 86 at 3–4 ¶ 21; Doc. 80-1 at ¶ 17; Doc. 80-2 at 05:02].

       23.    Mr. Loma continued to insist that Sergeant Berger “identify.” [Doc. 80 at

¶ 23; Doc. 86 at 4 ¶ 23; Doc. 80-2 at 05:14].

       24.    Mr. Loma proceeded to extend his right hand towards Sergeant Berger’s

chest. [Doc. 80 at ¶ 24; Doc. 86 at 4 ¶ 24; Doc. 80-1 at ¶ 20; Doc. 80-2 at 05:18; Doc.

80-3 at 197:18–198:17].

       25.    Mr. Loma extended his right hand to within 6 to 12 inches of the nametag

on Sergeant Berger’s chest. [Doc. 80 at ¶ 25; Doc. 86 at 4 ¶ 25, 5 ¶ 2; Doc. 89 at 4 ¶ 2;

Doc. 80-1 at ¶ 21; Doc. 80-2 at 05:19; Doc. 80-3 at 198:14–17].



5 Mr. Loma disputes this fact by speculating that DPD officers are “well aware of who

Brian Loma is [sic]. Mr. Loma has had hundreds of interactions with Denver Police,
including District 6 officers such as Defendant Berger.” [Doc. 86 at 3–4 ¶ 21 (citing [Doc.
80-1 at 1:2–9])]. Mr. Loma’s speculation is not sufficient to establish a factual dispute.


                                            7
Case No. 1:21-cv-02214-NYW-SBP           Document 96      filed 12/05/24    USDC Colorado
                                         pg 8 of 18




       26.    Sergeant Berger avers that he was concerned that Mr. Loma could attempt

to strike him. [Doc. 80 at ¶ 27; Doc. 80-1 at ¶ 23]. 6

       27.    When Mr. Loma extended his right hand within inches of Sergeant Berger’s

chest, Sergeant Berger initially used his right hand to move his jacket to show his

nametag. [Doc. 86 at 5 ¶ 4; Doc. 86-2 at 05:14–05:17].

       28.    Sergeant Berger then reached up with his right hand and pushed Mr.

Loma’s camera back. [Doc. 80 at ¶ 28; Doc. 80-1 at ¶ 25; Doc. 80-2 at 05:16–05:18; Doc.

80-3 at 202:1–5]. 7

       29.    Sergeant Berger struck the camera, knocking it out of Mr. Loma’s hands

and destroying it. [Doc. 86 at 5 ¶ 4; Doc. 86-2 at 05:16–06:13]. 8

       30.    Sergeant Berger did not touch Mr. Loma or any part of his body. [Doc. 80

at ¶ 29; Doc. 86 at ¶ 29; Doc. 80-1 at ¶ 26; Doc. 80-3 at 202:6–10].

       31.    Mr. Loma did not suffer any physical injury as a result of the incident. [Doc.

80 at ¶ 30; Doc. 86 at ¶ 30; Doc. 80-3 at 202:1–25].




6 Mr. Loma argument that he was within striking distance of Sergeant Berger “for the

entirety of their interaction,” and Sergeant Berger struck Mr. Loma’s phone only after Mr.
Loma filmed Sergeant Berger’s nametag, [Doc. 86 at 4 ¶ 27 (citing [Doc. 80-2 at 05:00–
06:13])], does not create a genuine dispute to the factual averment that Sergeant Berger
was concerned.
7 Mr. Loma disputes this fact by asserting that Sergeant Berger “struck Plaintiff after

Plaintiff filmed his name tag.” [Doc. 86 at 4 ¶ 28 (citing [Doc. 80-2 at 05:00–06:13])].
Elsewhere, however, Mr. Loma concedes that he extended his hand toward Sergeant
Berger’s chest, [UMF at ¶ 22], and that his hand was within 6 to 12 inches of Sergeant
Berger’s chest, [id. at ¶ 25], and the Court finds that these factual assertions are not
mutually exclusive. Accordingly, the Court considers this fact undisputed.
8 Sergeant Berger “[d]en[ies]” this fact and cites, without further argument or explanation,

paragraphs 33 through 35 of Sergeant Berger’s Statement of Undisputed Material Facts.
[Doc. 89 at 5 ¶ 4 (citing [Doc. 80 at ¶¶ 33–35])]. This is not sufficient to create a dispute
of fact.


                                              8
Case No. 1:21-cv-02214-NYW-SBP            Document 96      filed 12/05/24   USDC Colorado
                                          pg 9 of 18




       32.       Mr. Loma’s phone fell to the ground. [Doc. 80 at ¶ 34; Doc. 86 at ¶ 34; Doc.

80-1 at ¶ 32].

                                          ANALYSIS

       Sergeant Berger seeks summary judgment on each of Mr. Loma’s claims.

Sergeant Berger asserts that Mr. Loma cannot adduce evidence to support elements of

his claims and, even if he could, Sergeant Berger did not violate clearly established law

under the second prong of the qualified immunity test with respect to Mr. Loma’s First

Amendment retaliation claim, Fourteenth Amendment Due Process claim, or Fourth

Amendment excessive force claim. See generally [Doc. 80]. The Court addresses the

Parties’ arguments as to each claim, in turn.

I.     First Amendment Retaliation

       “[A]ny form of official retaliation for exercising one’s freedom of speech . . .

constitutes an infringement of that freedom.” Worrell v. Henry, 219 F.3d 1197, 1212 (10th

Cir. 2000) (quotation omitted). To prevail on a First Amendment retaliation claim, a

plaintiff must prove the following:

       (1) that the plaintiff was engaged in constitutionally protected activity;
       (2) that the defendant’s actions caused the plaintiff to suffer an injury that
       would chill a person of ordinary firmness from continuing to engage in that
       activity; and (3) that the defendant’s adverse action was substantially
       motivated as a response to the plaintiff’s exercise of constitutionally
       protected conduct.

Shero v. City of Grove, 510 F.3d 1196, 1203 (10th Cir. 2007). Sergeant Berger argues

that Mr. Loma cannot satisfy either the second or third elements of his First Amendment

claim. See [Doc. 80 at 7–9].

       Causation. The Tenth Circuit’s “standard for evaluating th[e] chilling effect on

speech is objective, rather than subjective.”       Shero, 510 F.3d at 1203 (quotations



                                               9
Case No. 1:21-cv-02214-NYW-SBP         Document 96       filed 12/05/24   USDC Colorado
                                       pg 10 of 18




omitted). Physical and verbal intimidation can both chill speech. See Van Deelen v.

Johnson, 497 F.3d 1151, 1157–58 (10th Cir. 2007). The Court finds that Mr. Loma has

adduced evidence from which a reasonable jury could conclude that Sergeant Berger’s

actions caused Mr. Loma “to suffer an injury that would chill a person of ordinary firmness

from continuing to” film the officers’ actions in clearing the unhoused individuals from a

public space. Worrell, 219 F.3d at, 1212 (quotations omitted). Mr. Loma points to the

fact that Sergeant Berger refused to identify himself, and then proceeded to strike the

phone from Mr. Loma’s hand when Mr. Loma attempted to obtain that information by

filming Sergeant Berger’s nametag. [Doc. 86 at 9]; see also [UMF at ¶¶ 27–29]. Mr.

Loma’s phone fell to the ground, rendering him unable to film the remainder of the

displacement. [UMF at ¶¶ 27–29]; see also [Doc. 80-2 at 05:16–06:13].

      Sergeant Berger’s causation arguments effectively ask the Court to adopt

Sergeant Berger’s version of events, see [Doc. 80 at 8], but the Court must adopt Mr.

Loma’s version of events so long as it finds support in the record, Helvie, 66 F.4th at

1232; Est. of Taylor, 16 F.4th at 756. Mr. Loma’s version of events does find such support

in the record and suggests that he was prevented from filming the police activity at issue

because Sergeant Berger destroyed his phone.

      Retaliatory Motive. With respect to the third element, “[t]he plaintiff must show

that the retaliation was a substantial or motivating factor behind the [adverse action].”

Nieves v. Bartlett, 587 U.S. 391, 404 (2019) (quotation omitted). “The Supreme Court

has held a plaintiff must show ‘but-for’ causation—meaning the adverse action against

the plaintiff would not have been taken absent the retaliatory motive—to prove the third




                                            10
Case No. 1:21-cv-02214-NYW-SBP            Document 96      filed 12/05/24    USDC Colorado
                                          pg 11 of 18




element of a First Amendment retaliation claim.” Bustillos v. City of Artesia, 98 F.4th

1022, 1036 (10th Cir. 2024) (citing Nieves, 587 U.S. at 398–99).

         Sergeant Berger contends that Mr. Loma cannot adduce any evidence that

Sergeant Berger was “substantially motivated by Plaintiff’s filming,” [Doc. 80 at 8], and

points to evidence that he was “merely trying to create distance between” the Parties after

Mr. Loma “encroach[ed] on [Sergeant Berger’s] personal space,” [id. at 8–9]. Mr. Loma

responds that this element turns on Sergeant Berger’s intent and internal motivations,

both of which are genuine issues of disputed fact that should be left to the jury. [Doc. 86

at 8].

         Whether a defendant acted with a retaliatory animus is typically a fact question left

to the jury. Hedquist v. Beamer, 763 F. App’x 705, 712 (10th Cir. 2019). However,

summary judgment may still be appropriate if there is no evidence from which a

reasonable jury could find that the protected activity was a motivating factor in the adverse

action. Id. The Court has reviewed the evidence cited by Mr. Loma and observes that

he has adduced evidence that Sergeant Berger knocked Mr. Loma’s phone to the ground

seconds after Mr. Loma filmed Sergeant Berger’s name tag, see [UMF at ¶¶ 27–29; Doc.

80-2 at 05:16–05:20], and only informed Mr. Loma that he was standing too close after

Sergeant Berger hit Mr. Loma’s phone, [Doc. 80-2 at 05:20–05:22]. Given that only a

matter of seconds elapse between when Sergeant Berger “expose[d] his nameplate for

Plaintiff to film,” and his “react[ion]” when Mr. Loma came “too close,” the Court cannot

conclude that only Sergeant Berger’s version of events is “clear from the video.” [Doc.

89 at 7]; see also [Doc. 80-2 at 05:15–05:20]. To the contrary, “a reasonable jury could




                                              11
Case No. 1:21-cv-02214-NYW-SBP          Document 96        filed 12/05/24     USDC Colorado
                                        pg 12 of 18




find facts supporting a violation of a constitutional right.” See Farrell v. Montoya, 878 F.3d

933, 937 (10th Cir. 2017).

       Courts within this District regularly find that a close temporal proximity between a

plaintiff’s protected speech and a defendant’s adverse action against the plaintiff can give

rise to a “strong inference” that the defendant’s action was motivated by the plaintiff’s

protected speech. See, e.g., Irizarry v. City & Cnty. of Denver, 661 F. Supp. 3d 1073,

1091 (D. Colo. 2023); Sodaro v. City & Cnty. of Denver, --- F. Supp. 3d ---, No. 21-cv-

1879-WJM-STV, 2024 WL 4433943, at *10 (D. Colo. Oct. 7, 2024). Here, the video

evidence of the encounter shows that only seconds after Mr. Loma filmed Sergeant

Berger’s nametag, Sergeant Berger knocked Mr. Loma’s phone to the ground. [UMF at

¶¶ 27–29]. “The Court finds this evidence alone sufficient to create a genuine issue of

material fact as to whether [Sergeant Berger] acted with retaliatory motive.” See Sodaro,

--- F. Supp. 3d ---, 2024 WL 4433943, at *10.

       The Court does not weigh this evidence against Sergeant Berger’s evidence nor

does the Court pass on the strength of the Parties’ evidence.               Instead, the Court

concludes that—given the fact that a reasonable jury could find that Sergeant Berger

knocked Mr. Loma’s phone to the ground in response to Mr. Loma filming Sergeant

Berger’s nametag—a reasonable jury could conclude that the filming of Sergeant Berger’s

nametag was the substantial or motivating factor behind his conduct. See Irizarry, 661 F.

Supp. 3d at 1091 (allegations that officer arrested the plaintiff “almost immediately” after

he began protesting about the Denver Police, combined with lack of probable cause for

the arrest, was sufficient to plead that a retaliatory motive was the “but-for” cause of the

plaintiff’s arrest); Sodaro, --- F. Supp. 3d ---, 2024 WL 4433943, at *10 (finding that video




                                             12
Case No. 1:21-cv-02214-NYW-SBP          Document 96        filed 12/05/24   USDC Colorado
                                        pg 13 of 18




evidence showing that “but a few seconds passed” between the plaintiff’s protected

speech and the officers’ actions was sufficient, on its own, to create a genuine issue of

fact as to officers’ retaliatory motive). Defendant’s contention that “[i]t was not [Sergeant]

Berger’s intent to knock the phone out of Plaintiff’s hand” because “he was merely trying

to create distance between the two,” [Doc. 80 at 8], is more appropriately presented to

the jury, see Epps v. City & Cnty. of Denver, 588 F. Supp. 3d 1164, 1176 (D. Colo. 2022).

Thus, the Court cannot conclude that Sergeant Berger has demonstrated that he is

entitled to summary judgment on Mr. Loma’s First Amendment claim on these grounds.

       Clearly Established Law. A right is clearly established if there is a Supreme Court

or Tenth Circuit decision on point or if the weight of authority in other courts provides that

the right is clearly established. Washington v. Unified Gov’t of Wyandotte Cnty., 847 F.3d

1192, 1197 (10th Cir. 2017). A case is considered “on point” if it involves materially similar

conduct to the case at hand or applies “with obvious clarity” to the conduct at issue. Lowe

v. Raemisch, 864 F.3d 1205, 1208 (10th Cir. 2017) (quotation and emphasis omitted).

Although a case directly on point is not required, Redmond v. Crowther, 882 F.3d 927,

935 (10th Cir. 2018), the Court must be mindful “not to define clearly established law at

too high a level of generality,” City of Tahlequah v. Bond, 595 U.S. 9, 12 (2021). “It is not

enough that a rule be suggested by then-existing precedent; the rule’s contours must be

so well defined that it is clear to a reasonable officer that his conduct was unlawful in the

situation he confronted.” Id. (quotation omitted).

       Sergeant Berger argues that Mr. Loma cannot establish the second prong to

overcome qualified immunity because, “by extending his hand to within inches of

[Sergeant] Berger’s chest,” Mr. Loma was “interfering with a police officer in the




                                             13
Case No. 1:21-cv-02214-NYW-SBP           Document 96       filed 12/05/24    USDC Colorado
                                         pg 14 of 18




performance of his duties.” [Doc. 80 at 9]; cf. Irizarry v. Yehia, 38 F.4th 1282, 1292 n.10

(10th Cir. 2022) (noting that the First Amendment right “is subject to reasonable time,

place, and manner restrictions,” but finding that “no ‘time, place, and manner’ restriction

issue” was presented because a plaintiff recording a traffic stop who “does not interfere

with the police officers’ performance of their duties is not reasonably subject to limitation”

(citations omitted)). But whether Mr. Loma in fact interfered with Sergeant Berger in the

performance of his duties remains a fact issue. See Sodaro, --- F. Supp. 3d ---, 2024 WL

4433943, at *10 (denying summary judgment on qualified immunity grounds where

defendant officers argued that the plaintiff could not establish a clearly established right

to disrupt a public gathering, but whether the plaintiff in fact disrupted the inauguration

remained a fact issue). And the law was clearly established as of November 2020

that “‘the First Amendment prohibits government officials from subjecting an individual to

retaliatory actions’ for engaging in protected speech.” Nieves, 587 U.S. at 398 (quotation

omitted); see also Worrell, 219 F.3d at 1212 (“[A]ny form of official retaliation for

exercising one’s freedom of speech . . . constitutes an infringement of that freedom”).

More specifically, it is well settled that “there is a First Amendment right to film the police

performing their duties in public.” Irizarry, 38 F.4th at 1292. It was also clearly established

in the Tenth Circuit that a reasonable officer would have known that physically interfering

with and intimidating an individual who was filming police activity could chill First

Amendment activity. See id. Thus, issues of fact preclude finding that Sergeant Berger

is entitled to qualified immunity on Mr. Loma’s First Amendment retaliation claim, and

accordingly, the Court respectfully DENIES the Motion for Summary Judgment as to the

same.




                                              14
Case No. 1:21-cv-02214-NYW-SBP         Document 96      filed 12/05/24   USDC Colorado
                                       pg 15 of 18




II.    Fourteenth Amendment Due Process and Deprivation of Property Claims

       Sergeant Berger also challenges Mr. Loma’s Fourteenth Amendment due process

and deprivation of property claims. [Doc. 80 at 11–13, 16]. In his Response, Mr. Loma

“concedes his 14th Amendment claims.” [Doc. 86 at 11 (cleaned up)]. Thus, the Court

finds that summary judgment in Sergeant Berger’s favor on the Fourteenth Amendment

claims is appropriate. Cf. Shaw v. City of Norman, No. 22-6106, 2023 WL 2923962, at

*4 (10th Cir. Apr. 13, 2023) (affirming dismissal of Fourteenth Amendment due process

claim where the plaintiffs made “no attempt to satisfy” the applicable standard);

OneSource Com. Prop. Servs., Inc. v. City & Cnty. of Denver, 535 F. App’x 740, 748 (10th

Cir. 2013) (affirming grant of summary judgment in the defendant’s favor where the

plaintiffs inadequately briefed their claims and failed to establish genuine issues of

material fact). Accordingly, the Motion for Summary Judgment is GRANTED with respect

to Mr. Loma’s Fourteenth Amendment claims.

III.   Fourth Amendment Excessive Force

       Finally, Sergeant Berger challenges Plaintiff’s claim of excessive force. [Doc. 80

at 13-15]. Claims alleging that a police officer used excessive force in the seizure of a

free citizen are properly asserted under the Fourth Amendment, Graham v. Connor, 490

U.S. 386, 395 (1989), which provides that “[t]he right of the people to be secure in their

persons, houses, papers, and effects, against unreasonable searches and seizures, shall

not be violated,” U.S. Const. amend. IV. To succeed on a Fourth Amendment excessive

force claim, a plaintiff must prove that they were seized and that the seizure was

unreasonable. Brower v. Cnty. of Inyo, 489 U.S. 593, 599 (1989); see also Jones v.

Norton, 809 F.3d 564, 575 (10th Cir. 2015) (“Without a seizure, there can be no violation




                                           15
Case No. 1:21-cv-02214-NYW-SBP          Document 96       filed 12/05/24   USDC Colorado
                                        pg 16 of 18




of the Fourth Amendment.”). Sergeant Berger challenges Mr. Loma’s claim as to both

elements and also argues that Mr. Loma cannot satisfy his burden on the second prong

of the qualified immunity inquiry. The Court’s analysis begins and ends with the latter

argument. See Ashcroft v. al-Kidd, 563 U.S. 731, 735 (2011) (citing Pearson v. Callahan,

555 U.S. 223, 236 (2009)) (reaffirming that “lower courts have discretion to decide which

of the two prongs of qualified-immunity analysis to tackle first”).

       Clearly Established Law.        Sergeant Berger contends that it is not clearly

established that property damage alone—with no evidence of physical contact—is a

cognizable Fourth Amendment excessive force claim. [Doc. 80 at 14–15]. Mr. Loma

counters that it was clearly established, as of November 17, 2020, that “the use of

gratuitous force, even against a misdemeanant, [is] unconstitutional.” [Doc. 86 at 12

(citing McCowan v. Morales, 945 F.3d 1276, 1285–87 (10th Cir. 2019)) (emphasis

omitted)]. Citing McCowan and three cases discussed therein—Weigel v. Broad, 544

F.3d 1143 (10th Cir. 2008); Casey v. City of Federal Heights, 509 F.3d 1278 (10th Cir.

2007); and Dixon v. Richer, 922 F.2d 1456 (10th Cir. 1991)—Mr. Loma claims that

Sergeant Berger “did just what these cases put him on notice was unconstitutional.” [Doc.

86 at 13]. The Court respectfully disagrees.

       First, insofar as Mr. Loma argues that “any reasonable officer should know that

hitting a person who has committed no offense at all is an excessive use of force,” [Doc.

86 at 13], the Court cannot ignore a fundamental flaw in his argument: there is no dispute

that Sergeant Berger never hit Mr. Loma, [Doc. 80 at ¶ 29; Doc. 86 at ¶ 29; Doc. 80-1 at

¶ 26; Doc. 80-3 at 202:6–10].




                                             16
Case No. 1:21-cv-02214-NYW-SBP          Document 96        filed 12/05/24   USDC Colorado
                                        pg 17 of 18




       For the same reason, the Court finds the case law on which Mr. Loma relies

unpersuasive. Notably, Mr. Loma does not direct the Court to any cases involving the

use of “force” solely against an individual’s property—in this case, the gimbal attached to

his phone that Mr. Loma was holding. [Doc. 80-3 at 202:1-10]. Indeed, none of the cases

cited by Mr. Loma involve facts even remotely like the facts of this case. In McCowan,

an officer arrested an individual with a shoulder injury, left the individual cuffed and

unbelted in the back of a patrol car, and drove to the station in a manner that led to the

arrestee hitting his injured shoulder repeatedly against the seats and doors of the vehicle.

945 F.3d at 1285–87. In Weigel, a drunk driving suspect died of asphyxiation when, after

the arrestee was subdued, handcuffed, and restrained, an officer knelt on his upper torso.

544 F.3d at 1287. In Casey, the Tenth Circuit held that it would be unreasonable for an

officer to tackle, taser, and beat a plaintiff as he returned from retrieving money to pay his

traffic citation from the parking lot of a courthouse in order to arrest him for removing a

public record (the court file) from the courthouse. 509 F.3d at 1279–83. In Dixon, the

officers’ use of force—kicking, hitting, choking, and beating the plaintiff—was

unreasonable under the circumstances. 922 F.3d at 1457–59, 1462–63.

       Here, even construing the evidence in Mr. Loma’s favor, the only “force” applied

involved Sergeant Berger’s hand and the gimbal attached to Mr. Loma’s camera phone.

[UMF at ¶¶ 30–31]. No physical contact occurred between the Parties, cf. Weigel, 544

F.3d at 1287; Casey, 509 F.3d at 1279–83; Dixon, 922 F.2d 1457–59, and Mr. Loma has

not alleged any form of physical injury, cf. McCowan, 945 F.3d at 1285–87. 9


9 Mr. Loma does not expressly address Sergeant Berger’s argument that property
damage is not a cognizable basis for an excessive force claim under the Fourth
Amendment. See generally [Doc. 86].


                                             17
Case No. 1:21-cv-02214-NYW-SBP          Document 96       filed 12/05/24   USDC Colorado
                                        pg 18 of 18




       Mr. Loma cites no legal authority demonstrating that knocking a phone to the

ground—with no physical contact between the officer and the plaintiff—necessarily

constitutes a Fourth Amendment seizure. See [Doc. 86 at 11–13]. Thus, he has not met

his burden of establishing that it was clearly established, as of the incident, that Sergeant

Berger’s conduct violated Mr. Loma’s Fourth Amendment rights. Accordingly, Sergeant

Berger’s Motion for Summary Judgment is GRANTED with respect to Mr. Loma’s Fourth

Amendment claim.

                                      CONCLUSION

       For the reasons set forth herein, IT IS ORDERED that:

       (1)   Sergeant Jeffery Berger’s Motion for Summary Judgment [Doc. 80] is

             GRANTED IN PART and DENIED IN PART;

       (2)   Summary judgment is GRANTED for Sergeant Berger with respect to Mr.

             Loma’s excessive force claims; and

       (3)   Summary judgment is DENIED with respect to Mr. Loma’s First Amendment

             retaliation claim; and

       (4)   A Telephonic Status Conference is SET for December 12, 2024 at 1:30 PM,

             for the purposes of setting a Final Pretrial/Trial Preparation Conference and

             a jury trial in this matter. The Parties shall participate by dialing 571-353-

             2301, Access Code: 783456374.


DATED: December 5, 2024                           BY THE COURT:


                                                  _________________________
                                                  Nina Y. Wang
                                                  United States District Judge




                                             18
